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UNiTED STATES DiSTRiCT COURT
SOUTHERN DiSTRiCT OF NEW YORK

 

iN ns APr~>LicAnoN or oR. HELEEN No. 15 Mlsc 262
MEEs, §

Applicant,

§S`{|PULATED AGREEMENT AND ORDER
For Leave to issue Subpoenas for the

'!"al<ing of a Deposltion and the Production §

of Documents Pursuant to 28 U.S.C. §

1782 "

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TH!S MATTER, having been opened to the Court by Grant & Eisenhofer P.A. and
Boies, Schilier & Flexner LLP, attorneys for Appllcant Dr. He|een Mees (“Mees"); and
l\AcElroy, Deutsch, Mulvaney & Carpenter, LLP, attorneys for Citigroup lnc. ("Citigroup");
and counsel for !\./leesl Citigroup and Katsl<y Korins LLP and Quirl< and Bakalor, P.C.,
attorneys for Wiilern H. Buiter (“Buiter") (Mees, Cltigroup and Buiter collectively referred to
as the “Parties") having consented to the form and entry of this Stipulated Agreement and
Order ("Cird¢=:r")1

IT lS on this 11"‘ day ot September, 2015;

ST¥PULATED AND ORDERED as follows:

'l. Pursuant to the procedure in Paragraph 8 hereof establishing a Buiter’s
Attorneys' Eyes Only review period and the ability for Buiter to object to or request
redactions of Citigroup’s production prior to production of same to Mees, Citigroup will
produce the 1652 documents in its possession that were previously Bates stamped The

Parties agree that such production Wi|l be in full satisfaction of Requests 'i through 8 of the

 

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subpoena duces tecum (the “SDT") that is the subject of ivlees’ renewed 28 U.S.C. § 1782
application (the "Renewed Application").

2. With respect to Request 9 of the SDT, Citigroup will review and confirm if it
currently possesses documents and/or photos responsive to this Request, in which case
Citigroup will produce such documents/photos .

3. VVith respect to Request 10 ofthe SDT, Citigroup has confirmed that it did not
instaii any such software

4. in the event the Parties cannot agree on the production ofail or any portion of
the documents described in Paragraphs ‘i and 2 hereof, those issues would be presented
to the Court to establish a briefing schedule and return date

5. lV|ees will withdraw the Renewed Appiication for a deposition ofany Citigroup
representative if Citigroup provides the information that Nlees seeks in other form or has
been unable to collect the information despitel to iv‘iees' satisfaction, reasonable efforts to
co|iect it. Citigroup reserves its right to oppose the Renewed App|ication for any deposition
of a Citigroup representative in this matterl lf a dispute over the taking of such a deposition
arises. Citigroup wiii have 14 days to respond to the Renewed App|ication.

6. (a) The provisions of this Order shail apply to ali material (as that terrn is
defined below in Paragraph G(b)) produced or provided by Citigroup as a result of the
above»captioned Renewed App|ication (including but not limited to any material that is
produced in response to the SDT that is the subject of the Renewed Appiication). Said
provisions shall apply to (i) the Parties and their afiiiiates and empioyees, if any; and (ii)
counsel for the Parties, and their employees, it any. As used herein, “F’erson" includes the

Parties and others who have agreed to be or are otherwise hereby bound by this Order.

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(b) The restrictions contained in this Order shall apply to both documents,
as defined by the Federal Rules of Civil Procedure and the Local Civil Rules for the
Southern and Eastern Districts of New Yorl<, and information The term "material" shall be
used herein to refer to documents and information

7. (a) Citigroup or Buiter may designate as "CONFlDENTlAL” any
non-public material when such material contains confidential personal or financial, or
commercially sensitive business information of Citigroup or Buiter. Except as otherwise
provided herein, “CONFIDENT|AL" material shall be used only for the purpose ofthis civil
proceeding pending in the Southern District of New \’ori< under case number 15 MISC 262
or the proceeding in the Nether|ands entitled Mees v. Buiter, et ano., case number
Cf13/577569 (the “Dutch Action”), hereinafter collectively "the Proceedings", and not for
any other proceeding or any business or other purpose whatsoever, and shall not be given,
shown, made available or communicated in any way to anyone except as follows;
Materiai designated as “CONFlDENT|AL" shall be made available only to:

(i) the parties to any of the Proceedlngs;

(ii) designated outside counsel for such parties and persons
employed or otherwise retained by such outside counsel in para-professiona|, clerica|,
stenographic or ministerial positions;

(iii) independent outside experts or consultants retained by such
Parties or their outside counsel for purposes of the Proceedings, albeit subject to
provisions of Paragraph 7(b) below;

(iv) court reporters or typists recording or transcribing testimony in
the Proceedings and any outside independent reproduction firm for purposes of

reproducing such material in the Proceedings;

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(v) current employees of Citigroup working on this matter for
Citigroup;

(vi) the Court and its personnel; and

(vii) any non-party witness during trial or at a hearing in the
Proceedings, or if depositions occur, during such witness's deposition, albeit subject to the
provisions of Paragraph 7(b) beiow.

(b) |f a Party wishes to disclose "CONF[DENT|AL" material to an expert or

consultant hired for the purpose of the Proceedings pursuant to Paragraph 7(a)(iii) or to a
non-party witness pursuant to Paragraph 7(a)(vii), the Party seeking to disclose the
“CONFlDENT|AL" material shall provide such person with a copy of this Order and obtain
and retain a copy of the applicable Confidentia|ity Undertaking attached to this Order as
Exhibit A or Exhibit B, signed by the person, prior to disclosure, receipt or review of any
"CONFlDENTiAL" materiai. if a non-party witness refuses to sign a copy of the
Confidentiality Undertaking, the deposition will nonetheless proceed, and use of
"CONFIDENTlAL" material shall be permitted during the deposition but the Parties, jointly
or individua||y, shall seek appropriate relief from the court of competent jurisdiction
promptly after the deposition Notwithstand ing the foregoing, if any Party wishes to show
“CONF|DENT|AL” material to any non-party witness during the course of that witness's
testimony, such Party shall ask the non-party witness to sign the applicable Confidentiaiity
Undertaking, attached hereto as Exhibit A or Exhibit B, in advance of the commencement
of the testimony lf the non-party witness refuses to sign the Confidentiality Undertaking,
the Party who wishes to show “CONFlDENTlAi_" material to that witness shall notify the

other Parties in writing as soon as practicablel but in all events no fewer than seven (7)

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business days before the testimony is scheduled to commencel Any other Party may
thereupon seek appropriate relief from a court of competent jurisdiction

(c) The Party filing any document designated “CONFIDENT|AL” subject
to this Stipu|ated Agreement and Order shall file such document in accordance with
applicable court procedures, local rules and individual Practices (or if no such procedures,
rules, or practices app|y, any other procedure) that prevent public disclosures of the
“CONFiDENTiAL” document, including (if available) sealing

(d) Sea|ed records that have been filed in the Proceedings shall be
removed by the Party submitting them (i) within ninety (90) days after a final decision is
rendered if no appeal is taken or (ii) if an appeal is taken within thirty (30) days after final
disposition of the appeal

8. Citigroup shall produce the documents or information stipulated to in

Paragraph 1 on September 11l 2015, and as soon as possible thereafter shall produce the
documents or information stipulated to in Paragraph 2. For a period of seven (7) business
days following any such production by t)itil such documents and information shall be
treated as Attorneys' Eyes Only and counsel for Buiter may view the documents and seek
additional redaction of privileged information account information credit card numbers,
telephone numbers, and other non-public contact information Buiter may also seek
redaction of personal information unrelated to ivlees, but such personal information
unrelated to lV|ees will be provided to counsel for Mees on an Attorneys' Eyes Only basis if
counsel for Nlees contends that any such redacted information is relevant to the claims
and/or defenses in or to the subject matter of, the Dutch Action, counsel for lV|ees will
advise the Parties and, if the dispute cannot be resolved without Court intervention
counsel for Buiter will move for a protective order. Notwithstanding the foregoing1 counsel

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for Buiter may confer with their client for the purpose of determining whether documents
should be withheld or contain information that should be redacted underthis provision and
may show documents to him for that purpose if Buiter asserts any privilege as to any
document or any portion of a document, such document shall be withheld or redacted and
Buiter shall provide an appropriate privilege |og. Any other request for redaction must be
made, in writing, to counsel for the Parties; any such writing will be treated as Attorneys'
Eyes On|y to the extent that it describes or reflects the content of material that Buiter seeks
to redact. With respect to any request for redaction based on anything other than an
assertion of privilegel the Parties may respond, in writing within seven (7) business days of
receipt of such request from counsel for Buiter, and advise Buiter if they will agree to the
requested redaction. |n the event that the Parties cannot agree to a redaction whether or
not based on an assertion ciprivi|ege1 Buiter will make an application for a protective order
from the Court, and the material will then continue to be treated as Attorneys' Eyes Only
until the Court issues a decision on any such application for a protective order. On
September 18, 2015 Citigroup shall produce to lviees all the stipulated documents except
those as to which Buiter has asserted a challenge that has not been resolved and may

therefore be the subject of a motion as provided in Paragraph 4.

9. Any Party may request at any time permission to disclose "CONFlDENT|AL"
material to a person other than those permitted under Paragraph 7 above by serving a
written request upon counsel for the Party that designated it as "CONF|DENT|AL" (the
"Designating F’arty"), which states the material it wishes to disclose, to whom, and a short
explanation as to why disclosure would be appropriate The Designating Party or its

counsel shall thereafter respond to the request in writing within five (5) business days of the

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receipt of said request andl if consent is being withheld shall state the reasons why
consent is being withheld A failure to respond within such time shall constitute consent to
the request lf, where consent has been withheld the Discovering Party and the
Designating Party are subsequently unable to agree on the terms and conditions of
disclosure disclosure may only be made on such terms as the Court may provide.
Notwithstanding the foregoing, a copy of this Order shall be given to each person to whom
disclosure is made under the terms of this paragraph before being shown such materiall
and each such person shall be expressly advised that such material shall not be used or
further disclosed contrary to the terms of this Order. in addition each such person shall
agree in writing to the applicable Confidentia|ity Undertaking attached hereto as Exhibit A
cr Exhibit B prior to disclosure receipt or review of any “CONF|DENT|AL” material The
Party seeking disclosure shall obtain retain and, upon request. provide opposing counsel
with a copy of the signed Confidentiaiity Undertaking.
10. Designation pursuant to Paragraph 7, above, shall be accomplished by

employing the legend “CONFlDENTi/-\i_" as follows:

(a) in the case of documents or other materials (i) if the Designating
Party is Citigroup, the appropriate legend shall be placed on the documents or materials
prior to its production to counsel for other Parties, and (ii) if the Designating Party is Buiter,
the appropriate legend shall be placed on duplicate copies of the documents or materialsl
such duplicate copies shall then be provided to counsel for the other Parties, and counsel
for lviees shall then destroy or return any copies that do not bear that legend

(b) |n the case of information incorporated in answers to interrogatories

responses to requests for admission or any other form of written discovery responses

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served in the Proceedings, the appropriate legend shall be placed on the answers or
responses, and such answers or responses shall be separately produced
(c) in the case of material revealed during a deposition specific portions

of the transcript may be designated as “CONF|DENTEAL” by any Party during the
deposition itself or in writing, served on the Parties (and the witness, if the witness is a
non-party) within ten (10) days after receipt of the transcript by the designating Party.
Deposition transcripts shall automatically be treated as “CONF|DENT|AL" during the
ten~day period after receipt of the transcripts by all Parties, or as otherwise agreed by the
Parties and the witnessl

11. Any Party may object to the propriety cf the designation of specific materials
as "CONF|DENT|AL” by serving a written objection on the Designating Party or its counsel
The Desighating Party shall thereafter, within ten (10) business days of receipt of such
objection respond to such objection by either (i) agreeing to remove the designation or (ii)
stating the reasons why the designation was made. lf the Objecting Party and the
Designating Party are subsequently unable to agree, the Objecting Party shall be free to
move the Court for an Order removing the disputed designation The Objecting Party shall
have the burden of proving that the “CONF|DENTIAL" material was not properly
designated as “CONF|DENTIAL." The material at issue shall continue to be treated as
"CONFIDENT|AL" until the Court orders otherwise

12. Nothing in this Order shall prevent any qualified counsel from utilizing
"CONF|DENTIAL" material in the examination of any person who is (i) an employee or
consultant of a Party. and any of their successors or assigns, which designated the
"CONFlDENTlAL" material; (ii) reasonably believed to be the author or source of the
"CONFEDENT|AL" material; (iii) reasonably believed to have been a recipient of the

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“CONF|DENT|AL" material; or (iv) reasonably believed to have been an employee or
consultant of the Producing Party or non-party, or any of their successors or assigns, at the
time the document was generated, irrespective of which person or non-party produced
such material Except as set forth in clauses (i)-(iv) of the preceding sentence, a non-party
witness may not be shown "CONFlDENT|AL" material except upon compliance with
Paragraph 7 of this Order.

“|3. in accordance with Paragraph 7 of this Orderl this Order shall apply to
non-public information only. Nothlng in this Order shall prevent disclosure of material
already in the public domain or already in the possession of the receiving party in a form
that does not bear a confidentiality legendl

14. lt a Producing Party inadvertently discloses to a Discoverlng Party material
that is protected by the attorney-client privilege or attorney work product immunity, the
Producing Party shall promptly upon discovery of such disclosure so advise the
Discovering Party in writing and request that the privileged item or items be returned and
no Party to this action shall thereafter assert that such disclosure waived any privilege or
immunity lt is further agreed that the Discovering Party will return such inadvertently
produced privileged item or items and all copies thereof within ten (10) days of receiving a
written request for the return of such item or ltems. lf the Discovering Party seeks to
challenge the assertion of privilege or immunity, then the Discovering Party may retain one
(‘l) copy of the inadvertently produced privileged item for purposes of said challenge The
copy of the inadvertently produced privileged material will not be utilized for any other
purpose during the pendency of the challenge The Partles will either agree amicably to
the disposition and use of the inadvertently produced privileged material or failing an

amicable resolution the disposition and use will be decided by the Court

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15. Nothing in this Order shall (i) restrict the use of or disclosure of
“CONF|DENTIAL" material at trial or hearing in the Proceedings; (ii) preclude any Party
from seeking an order protecting “CONFlDENTlAL" material from unnecessary disclosure
at any proceeding; or (iii) restrict the use or disclosure of"CONFlDENT|Al.” material by any
Party or non-party that produces the material and/or designates the material as

“CONFlDENT|Al_."

16. This Order, insofar as it restricts the communication and use of material shall
continue to be binding throughout and arter the conclusion ofthe_Proceedings. in addition
at the conclusion cf the Proceedings, including all appeals:

(a) Each Party lshall turn over to their outside counsel all
"CONF|DENT|AL" material produced by another person and counsel also shall take
reasonable steps to reclaim any such material from anyone else known to have received
copies from that counsel and/or its/his client

(b} Within sixty (60) days after the conclusion of the Proceedings,
including all appeals, each Party‘s outside counsel shall return to outside counsel for the
Designating Party all materials designated as “CONFEDENT|AL" or shall destroy all such
materials and certify in writing to outside counsel for the Designating Party that such
destruction has taken place; and

(c) The provisions of Paragraph 10 (a) and (b) above are not applicable to
(i) any material that became a part of the publicly available Court record in the Proceedings
(by use as a trial or deposition exhibit, inclusion in material filed with the Court, inclusion in
the record on any appeal or otherwise) or (ii) any “CONFEDENT|AL” material that has been

reterenced, quoted, summarized attached to as an exhibit or othenrvise incorporated into

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attorney work product prepared by counsel for the Parties (“Worl< Product lvlateria|"). The
provisions of this Order shall continue in full force as to any Work Product Nlaterial.

17. if any Party receives a subpoena or other compulsory process demanding
material that has been designated “CONF|DENT|AL" pursuant to this Order or is directed
by any court or administrative tribunal to produce such "CONF|DENT|AL" material that
Party shall promptly (i) give notice of the subpoena or direction to the person so
designating the information or document and (ii) describe the confidential documents or
information such Party intends to disclose in response to such subpoena or direction Any
Party hereto shall have standing to seek a protective order or other appropriate relief The
Party receiving the subpoena or direction may produce “CONF|DENT|AL" material in
response to the subpoena or direction if (i) prior written consent of the Designating Party
has been obtained; (ii) a court has ordered that the information or documents be produced;
or (iii) if the subpoena is issued in connection with a proceeding in which it is possible to
move for a protective order,;the Designating Party has been notified of the subpoena or
direction pursuant to this paragraph, but has not, prior to the return date. moved for a
protective order. “CONFIDENT|AL” material shall not be produced if a motion for a
protective order is pendingl

18. Any Party may, on notice, apply to the Court at any time for modification of
this Order.

19. Buiter’s agreement to the terms of this Order is without prejudice to all rights,
including but not limited to (a) his right to oppose, on any groundl lvlees’s separate
application for leave to issue certain subpoenas to him (which is currently pending in this
Court under case number 14 Nl|SC 88); (b) any rights he may have or may be granted in

connection with that application (c) his right to oppose, on any ground, any application by

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lvlees for discovery or other relief in the Dutch Action, to maintain his pending request that
discovery in that action be stayed, to object on any ground to the use in that action of any
material produced pursuant to this Stipulated Agreernent and Order. and/or to seek or
maintain a request for any other relief in that action; or (d) his rights under the stay or
discovery ordered by the court in the separate action that is pending in the Supreme Court
of the State of New York, County of Kings. entitled Mees v. Buiter, lnde)c No. 9579/2014.

20. Neiiher anything contained in this Order nor any action by any Party pursuant
to the terms of this Order shall be construed as a waiver of any right cf any Party to object
to the use or admissibility of any material produced pursuant to this Order or in response to
any subpoena issued in connection with the Proceedings.

21. This Stipulated Agreement and Order is binding on the Parties hereto, their
counsel (including but not limited to any attorneys representing Mees or Buiter in the Dutch
Action), and ai| employees, agents and/or consultants of any Party. Each Party shall be

responsible for any breach of this Stlpulated Agreernent and Order by any of that Party’s

attorneys, empioyees, agents or consultants

The undersigned hereby acknowledge their consent
to th form and entry of this Order. MU
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New York, NY 10017 88 Pine Street
Attorneys for Applicant 24th Floor
Dr. He|een lvlees New York, New York 10005

Attorneys for Citigroup lno.

Dated: September _U__,2015 Dated: September“~llw, 2015

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Armoni<, New York 10540

Attorneys for Applicant

Dr. Heleen l\flees

Da_t d:' September'__l_i_..2015

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Garden City, NY 11530
Attorneys for Dr. Willem Buiter

Dated: September _[L, 2015

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A`dilenne B. Koch, Esq.
KATSKY l<ORiNS LLP

605 Third Avenue

New Yori<, l\iew Yorl< 10158
Attorneys for Dr. Wiliem Buiter

Dated: Septernber _EJ_, 2015

SO ORDERED:

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, U.S.D..J.

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EXH|B|T A

UNITED STATES DlSTR|CT COURT
SOUTHERN DISTR|CT OF NEW YORK

 

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MEES, i

NO. 15 iViiSC 262

Appllcant,

CONFtDENTiALiTY UNDERTAK|NG

For Leave to issue Subpoenas for the

Tal<ing of a Dep_osition and the Production

of Documents Pursuant to 28 U.SiC. §
1782

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l, , hereby acknowledge that | have been provided a

 

copy of the Stipulated Protective Order entered in the above-captioned matter, a copy of
which is annexed hereto and incorporated herein by reference

l further acknowledge that l have read the aforesaid Order and agree to be bound by
the terms and conditions and limitations contained therein regarding the review and
disclosure of confidential information in the Proceedings, and l hereby consent to the
personal jurisdiction of the United States District Court, Southern District of New York for

any proceedings involving the enforcement of the Order.

Dated:

 

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EXHEBIT B

UN|TED STATES DESTR|CT COURT
SOUTHERN D|STR|CT OF NEW YORK

 

|N RE APPL|CAT|ON OF DR. HELEEN NO. 15NiiSC 262

MEES,

Applicantl
` CONFIDENTIAL|TY UNDERTAKING
For l_eave to issue Subpoenas for the g
Tai<ing of a Deposition and the Production
of Documents Pursuant to 28 U.S.C. §
1782 i

 

l, , hereby acknowledge that l have been provided a
copy of the Stipulated Protective Order entered in the above-captioned matter, a copy of
which is annexed hereto and incorporated herein by referencel

l further acknowledge that t have read the aforesaid Order and agree to be bound by
the terms and conditions and limitations contained therein regarding the review and
disclosure of confidential information in the Proceedings, and i hereby consent to the
personal jurisdiction of a court of competent jurisdiction in the location where l arn deposed

or retained, for any proceedings involving the enforcement of the Order.

Dated: '

 

